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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                             DUBLIN DIVISION

EMONI JONES,                                    :
                                                :
       Plaintiff,                               :      CASE NO.:
                                                :
v.                                              :
                                                :
WAL-MART STORES EAST, LP,                       :
WALMART, INC., and                              :
WAL-MART ASSOCIATES, INC.                       :
                                                :
       Defendants.                              :


     PLAINTIFF’S FINANCIAL INTEREST DISCLOSURE STATEMENT

       Pursuant to S.D. Ga. L.R. 7.1.1, Plaintiff hereby submits this statement disclosing

all persons known to have a financial interest in, or another interest which could be

substantially affected by, the outcome of the above-captioned case:

       Name

       Emoni Jones

       Lawson, Reid & Dean, LLC

       Richard Lawson

       Kimberly Reid

       Douglas Dean

       Wal-Mart Stores East, LP

       Walmart, Inc.
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Walmart Stores, Inc.

Wal-Mart Associates, Inc.

Respectfully submitted this 6th day of February 2023.

                                       LAWSON, REID & DEAN, LLC



                                By:    /s/ Douglas Harris Dean
                                       Georgia Bar No. 130988
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